Case 25-10068-CTG   Doc 1262   Filed 06/23/25   Page 1 of 4
                                              Case 25-10068-CTG      Doc 1262        Filed 06/23/25   Page 2 of 4
                                                                           Joann Inc.
                                                                           25-10068

First Name    Last Name     Firm                                     Rep                                            Via
Rick          Archer        Law360                                                                                  Audio Only
Victoria      Argeroplos    Jackson Walker LLP                       Burlington Stores, Inc.                        Video and Audio
Andrew        Behlmann      Lowenstein Sandler LLP                   GA Group                                       Video and Audio
Andrew        Behlmann      Lowenstein Sandler LLP                   GA Group                                       Video and Audio
Matthew       Bentley       ArentFoxSchiff LLP                       Wilmington Savings Fund Society, FSB           Video and Audio
Gabriel       Brunswick     Kroll Restructuring Administration LLC                                                  Video and Audio
Luke          Brzozowski    Morris Nichols Arsht and Tunnell         Party in Interest                              Video and Audio
Luke          Brzozowski    Morris Nichols Arsht and Tunnell         Party in Interest                              Video and Audio
Connie        Choe          Kelley Drye & Warren                     Committee                                      Video and Audio
John          Churchill     Kelley Drye & Warren                     Committee                                      Video and Audio
Scott         Ciocco        Burlington                               Burlington Stores, Inc.                        Video and Audio
Kenneth       Clayman       Selig Enterprises                        Suburban Plaza, LLC                            Video and Audio
Kenneth       Clayman       Selig Enterprises                        Suburban Plaza, LLC                            Video and Audio
Catherine     Corey                                                                                                 Audio Only
Robert        Dehney        Morris, Nichols, Arsht & Tunnell         Party in Interest                              Video and Audio
Robert        Dehney        Morris, Nichols, Arsht & Tunnell         Party in Interest                              Video and Audio
Monique       DiSabatino    Saul Ewing LLP                           Phillips Edison & Company                      Video and Audio
Brenna        Dolphin       Morris Nichols Arsht and Tunnell         Party in Interest                              Video and Audio
Brenna        Dolphin       Morris Nichols Arsht and Tunnell         Party in Interest                              Video and Audio
Christopher   Donnelly      Morris James LLP                         Wilmington Savings Fund Society, FSB           Video and Audio
Malak         Doss          Glenn Agre                               Party in Interest                              Video and Audio
Malak         Doss          Glenn Agre                               Party in Interest                              Video and Audio
Jonah         Eber          Hain                                                                                    Video and Audio
Jonah         Eber          Hain                                                                                    Video and Audio
Michael       Fitzpatrick   Cole Schotz P.C.                         Debtors                                        Video and Audio
Scott         Flaherty      LevFin Insights/press                                                                   Audio Only
Jeffrey       Gleit         ArentFoxSchiff LLP                       Wilmington Savings Fund Society, FSB           Video and Audio
Andrew        Glenn         Glenn Agre                               Party in Interest                              Video and Audio
Andrew        Glenn         Glenn Agre                               Party in Interest                              Video and Audio
Brett         Goodman       ArentFoxSchiff LLP                       Wilmington Savings Fund Society, FSB           Video and Audio
Andrew        Harmeyer      Milbank LLP                              SVP Sewing Brands LLC                          Video and Audio
Matthew       Harvey        Morris Nichols Arsht & Tunnell, LLP      Party in Interest                              Video and Audio
Matthew       Harvey        Morris Nichols Arsht & Tunnell, LLP      Party in Interest                              Video and Audio
Audrey        Hornisher     Clark Hill PLC                           Suburban Plaza, LLC                            Video and Audio
Zachary       Javorsky      Richards, Layton & Finger                                                               Video and Audio
Zachary       Javorsky      Richards, Layton & Finger                                                               Video and Audio
James         Jeffers       Burlington                               Burlington Stores, Inc.                        Video and Audio
Jeff          Kaplan                                                                                                Video and Audio
Jeff          Kaplan                                                                                                Video and Audio
Dietrich      Knauth                                                 media                                          Audio Only
Kevin         Liang         Gibson, Dunn & Crutcher LLP              Party in Interest                              Video and Audio
Kevin         Liang         Gibson, Dunn & Crutcher LLP              Party in Interest                              Video and Audio
                                                          Case 25-10068-CTG   Doc 1262      Filed 06/23/25     Page 3 of 4
                                                                                   Joann Inc.
                                                                                   25-10068

Christian           Mancino             Kirkland & Ellis                      Debtors                                        Video and Audio
Christian           Mancino             Kirkland & Ellis                      Debtors                                        Video and Audio
Jennifer            McLemore            Williams Mullen                       Armada Hoffler                                 Video and Audio
Jennifer            McLemore            Williams Mullen                       Armada Hoffler                                 Video and Audio
Maeghan             McLoughlin          Kelley Drye & Warren                  Committee                                      Video and Audio
Eric                Monzo               Morris James LLP                      Wilmington Savings Fund Society, FSB           Video and Audio
Jennifer            Moore               Sewing Report                         Media                                          Audio Only
Jennifer            Moore               Sewing Report                         Media                                          Audio Only
Jeffrey             Morrow              Burlington                            Burlington Stores, Inc.                        Video and Audio
James               O&#039;Neill        Pachulski Stang Ziehl & Jones LLP     Official Committee of Unsecured Creditors      Video and Audio
Michael             Papandrea           Lowenstein Sandler LLP                GA Group                                       Video and Audio
Michael             Papandrea           Lowenstein Sandler LLP                GA Group                                       Video and Audio
Kristhy             Peguero             Jackson Walker LLP                    Burlington Stores, Inc.                        Video and Audio
Michelle            Perez               Glenn Agre                            Party in Interest                              Video and Audio
Michelle            Perez               Glenn Agre                            Party in Interest                              Video and Audio
Robin               Piree               Burlington                            Burlington Stores, Inc.                        Video and Audio
Veronica            Polnick             Jackson Walker LLP                    Burlington Stores, Inc.                        Video and Audio
Faye                Rasch                                                                                                    Audio Only
Faye                Rasch                                                                                                    Audio Only
Bradford            Sandler             Pachulski Stang Ziehl & Jones LLP     Official Committee of Unsecured Creditors      Video and Audio
Andy                Serbe               Media                                 Media/Press                                    Audio Only
Andy                Serbe               Media                                 Media/Press                                    Audio Only
Erin                Severini            Frost Brown Todd LLC                  WPG Legacy, LLC                                Video and Audio
Erin                Severini            Frost Brown Todd LLC                  WPG Legacy, LLC                                Video and Audio
William             Starr               William J Starr CPA                   Wayne A Belleau                                Video and Audio
William             Starr               William J Starr CPA                   Wayne A Belleau                                Video and Audio
Alexander           Steiger             Richards, Layton & Finger, P.A.       SVP Sewing Brands LLC                          Video and Audio
Alexander           Steiger             Richards, Layton & Finger, P.A.       SVP Sewing Brands LLC                          Video and Audio
Vince               Sullivan            Law360                                                                               Audio Only
Vince               Sullivan            Law360                                                                               Audio Only
Ellsworth           Summers             Burr & Forman LLP                     CTO23 Rockwall, CTO Carolina,                  Video and Audio
Ellsworth           Summers             Burr & Forman LLP                     CTO23 Rockwall, CTO Carolina,                  Video and Audio
Emily               Taube               Burr & Forman LLP                     Brookside Properties                           Video and Audio
Emily               Taube               Burr & Forman LLP                     Brookside Properties                           Video and Audio
videoconferencing   Videoconferencing   Morris Nichols Arsht & Tunnell        Party in Interest                              Video and Audio
videoconferencing   Videoconferencing   Morris Nichols Arsht & Tunnell        Party in Interest                              Video and Audio
Nichole             Wilcher             Womble Bond Dickinson (US) LLP        Burlington Stores, Inc.                        Video and Audio
Matthew             Williams            Gibson, Dunn & Crutcher LLP           Party in Interest                              Video and Audio
Matthew             Williams            Gibson, Dunn & Crutcher LLP           Party in Interest                              Video and Audio
Alex                Wittenberg          Law360                                                                               Audio Only
Alex                Wittenberg          Law360                                                                               Audio Only
Blanka              Wolfe                                                                                                    Audio Only
Blanka              Wolfe                                                                                                    Audio Only
                                     Case 25-10068-CTG   Doc 1262    Filed 06/23/25   Page 4 of 4
                                                            Joann Inc.
                                                            25-10068

Aparna   Yenamandra   aparna.yenamandra@kirkland.com     2.12E+09                                   Video and Audio
